                                           Case 1:19-cr-00098-CMA Document 142-2 Filed 07/22/21 USDC Colorado Page 1 of 2
  DATE                    NAME                                        ADDRESS                    BANK                    AMT                              CASH/CHECK/PHONE          SHIP COST              SHIP
2/20/2018                                                                                                                 ???
3/21/2018                                                                                  Bank of EP Savings       $     1,000.00    cash
3/22/2018                                                                                  Bank of EP Savings       $    10,606.00    cashier's check                               $   34.31 FedEx
3/27/2018                                                                                  Bank of EP Savings       $     3,006.00    cash
3/26/2018   Sandra Pitcher                 4370 Wimbleton Dr Apt 8, Grandville MI 49418      Safeway/cash           $     1,960.00    Western Union                                 $   39.20   fee
3/27/2018   Sandra Pitcher                 4370 Wimbleton Dr Apt 8, Grandville MI 49418      Safeway/cash           $     1,960.00    Western Union                                 $   39.20   fee
3/27/2018   Sandra Pitcher                 4370 Wimbleton Dr Apt 8, Grandville MI 49418      Safeway/cash           $     1,960.00    Western Union                                 $   39.20   fee
3/27/2018                                                                                                           $     5,000.00    cash                                          $   47.70   UPS
3/29/2018                                                                                                           $     9,095.75    cash                                          $   47.70
3/30/2018                                                                                  Bank of EP Savings       $    48,310.00    cash
 4/2/2018   Sandra Pitcher                 4368 Wimbleton Dr Apt 8, Grandville MI 49418   Premier Members CU        $    28,002.00    cash                                          $ 47.18 UPS
 4/3/2018   Sandra Pitcher                 4369 Wimbleton Dr Apt 8, Grandville MI 49418   Premier Members CU        $     9,097.75    cash                                          $ 47.18 UPS
4/10/2018   Sandra Pitcher                 4370 Wimbleton Dr Apt 8, Grandville MI 49418   Premier Members CU        $    20,000.00    cash                                          $ 47.29 UPS
4/16/2018   Sandra Pitcher                 4371 Wimbleton Dr Apt 8, Grandville MI 49418    Bank of EP/Premier       $    45,002.00    cash/returned 5/30                            $ 47.18 UPS
4/16/2018                                  withdrawal                                      Bank of EP Savings       $    45,006.00    cash                                          returned 5/3 $45000
5/10/2018                                  UPS returned to Bank of EP                                               $   (24,825.00)   cash
5/22/2018                                                                                      Bank of EP           $     2,000.00    cash
5/23/2018   John Anderson                  854 N Tacoma Apt C, Allentown, PA 18109                                  $    10,000.00    cash                                          $   53.56 UPS
5/24/2018   Paul Wither                    35 N 14th St Apt 9,Allentown, PA 18102                                   $    10,000.00    cash                                          $   53.56 UPS
5/29/2018                                                                                      Bank of EP           $     9,000.00    cash
5/29/2018   John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $     9,000.00    cash                                          $   44.39 FedEx
5/30/2018   John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $    10,000.00    cash                                          $   44.39 FedEx
5/30/2018                                                                                      Bank of EP           $    15,000.00    cash
                                                                                               Bank of EP           $    50,000.00    cashier's check
5/30/2018                                                                                  Bank of EP Savings       $    15,000.00    cash
 6/4/2018   John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $    15,000.00    money order                                   $  44.39 FedEx
 6/5/2018   Nicoli Miller/Sandra Pitcher   Pomepano Beach, FL                                 Bank of CO            $    15,000.00    cash deposit in Wells Fargo acct#6031943688            Wells Fargo, Loveland
 6/5/2018   Ashli Jarret                   Pampano Beach, FL                              Chase Bank, Loveland      $    15,000.00    cash deposit in Chase acct 763200958                   Chase Bank, Loveland
 6/7/2018   John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434                Bank of EP           $     5,000.00    cash                                          $ 47.49 UPS
 6/7/2018   John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434               Bank of CO            $     4,000.00    cash                                          same     same
6/7/2018    John Anderson                  172‐42 Brocher Rd, Jamaica, NY 11434                Bank of EP           $     6,000.00    cash                                          same     same
7/2/2018                                                                                       Bank of EP           $    25,000.00    cash
7/6/2018    Frank White                    132 School Street, Manchester, CT 06040            Bank of CO            $    25,000.00    cashier's check                               $   97.84 FedEx
7/6/2018    Barbara Nations                736 Anna Laurel Rd, Early Branch SC 29916          Bank of CO            $    25,000.00    cashier's check                               $   53.86 FedEx
7/9/2018    Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $     5,000.00    cash                                          $   44.08 FedEx
                                                                                           Bank of EP Savings       $     3,500.00    cash
7/16/2018   Tracy Ann McLean                                                                   Bank of EP           $    15,000.00    cash                                          $   51.50 UPS
7/16/2018   Tracy Ann McLean                                                              Premier Members CU        $    15,002.00    cashier's check
7/17/2018   Frank White                    132 School Street, Manchester, CT 06040             credit card          $     2,307.00    2 Verizon iPhones                             $ 147.01    UPS
7/23/2018   Lloyd Wessom                                                                      Bank of CO            $    15,000.00    cashier's check                               $ 51.50     UPS
7/23/2018   Lloyd Wessom                                                                      Bank of CO            $    15,000.00    cashier's check                               same        same
7/27/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434                Bank of EP           $    20,000.00    cash                                          $ 134.72    UPS
 8/2/2018                                                                                      Bank of EP           $     3,000.00    cash
 8/2/2018                                                                                 Premier Members CU        $    15,000.00    cash
 8/6/2018   Daniel McFarlane               4298 Oneida Ave., Bronx, NY 10470                                        $    30,000.00    cash                                          $   83.69 UPS
8/10/2018                                                                                 Premier Members CU        $     3,029.00    cash
8/10/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434                                     $    10,000.00    cash                                          $   69.93 FedEx
8/20/2018                                                                                      Bank of EP           $    15,935.41    cash
8/20/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $    15,100.00    cash                                          $ 44.08 UPS
8/22/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $    15,000.00    cash                                          $ 134.72 FedEx
8/29/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $    14,000.00    cash                                          $ 83.69 FedEx
8/31/2018                                                                                 Verizon Wireless Chg      $     2,158.00    credit card
8/31/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434           Premier Members CU        $     6,000.00    cash
8/31/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434                Bank of CO           $    15,000.00    cash                                          $   44.08 UPS
 9/4/2018   Frank White                    172‐42 Brocher Rd, Jamaica, NY 11434                Bank of CO           $    10,000.00    cash                                          $   47.70 FedEx
 9/6/2018   Mark White                     204 Fifth Ave., Toms River NJ 08757                 Bank of CO           $     5,000.00    cash                                          $   44.08 FedEx                  GOVERNMENT
 9/6/2018   Mark White                     204 Fifth Ave., Toms River NJ 08757            Premier Members CU        $    10,000.00    cash                                                                             EXHIBIT
9/27/2018   John Anderson                  204 Fifth Ave., Toms River NJ 08757            Premier Members CU        $    20,000.00    cash                                          $   44.70 FedEx
10/1/2018   Nadine Willis                  4298 Oneida Ave., Bronx, NY 10470              Premier Members CU        $    20,000.00    cash                                          $   22.94 UPS
                                                                                                                                                                                                                          4

                                                                                                                                                    ATTACHMENT B
                                                                                                                                                                                                                  19-cr-00098-CMA-01
                                                                                                                1
                                  Case 1:19-cr-00098-CMA Document 142-2 Filed 07/22/21 USDC Colorado Page 2 of 2
    DATE                   NAME                                 ADDRESS                            BANK                  AMT                              CASH/CHECK/PHONE                           SHIP COST            SHIP
  10/2/2018    David Wither       Registered Merchant Banker Ohio                                                 $ 65,000.00        cash
  10/2/2018    Jasmine McLemore   Merchant Banker Broker                                                          $ 25,000.00        cashier's check
 10/11/2018    John Anderson      204 Fifth Ave., Toms River NJ 08757                          Bank of CO         $ 10,000.00        cash                                                            $   44.81 FedEx
 10/11/2018    John Anderson      204 Fifth Ave., Toms River NJ 08757                      Premier Members CU     $   5,000.00       cash
 10/19/2018                                                                                Premier Members CU     $ 25,000.00        cash
 10/22/2018    John Anderson      1307 Pacific St., Apt 6D, Brooklyn, NY 11216                 credit card        $   2,718.94       2 iPhone XS phones                                              $ 112.96 FedEx
 10/26/2018                                                                                Premier Members CU     $ 34,144.00        cash
 10/26/2018                                                                                Premier Members CU     $ 10,000.00        cashier's check
 10/30/2018    John Anderson      1307 Pacific St., Apt 6, Brooklyn, NY 11216                  credit card        $   2,718.90       2 iPhone XS phones                                              $ 101.46     FedEx
  11/5/2018    John Anderson      204 Fifth Ave., Toms River NJ 08757                          Bank of CO         $ 15,000.00        cash                                                            $ 87.61      UPS
  11/7/2018    Tom White          443 Tompkins Ave., Brooklyn, NY 11216                        Bank of CO         $ 15,000.00        cash                                                            $ 84.27      UPS
  11/8/2018    Tom White          443 Tompkins Ave., Brooklyn, NY 11216                        Bank of CO         $ 20,000.00        cash                                                            $ 84.27      UPS
                                                                                                 TOTAL            $ 999,793.75       TOTAL SHIPPING                                                  $ 2,439.42

                                  NSTC 218‐230‐7674                                                               Paul Wither
                                  Perpetual License Person Insurance 2018                                         35 N 14th St Apt 9
                                  Bank International Sweepstakes                                                  Allentown, PA 18102
                                  Antonio Morris 646‐926‐2083 x606
                                                                                                                  Daniel McFarlane                                           UPS is returning this
                                  Jenny Walker 876‐853‐2946, 202‐780‐4977                                         4290 Oneida Ave
                                  David Anderson 876‐318‐3114                                                     Bronx, NY 10470
                                  David Miller 876‐484‐4276, 403‐630‐1297, 763‐360‐8742
                                  Mary Nunez 951‐382‐3668     $450 ??                                             Barbara Nation
                                                                                                                  736 Anna Laurel Rd
                                  Frank White CEO 530‐317‐248? Old#, 702‐726‐2033 new#                            Early Branch, SC 29916
                                  Reggie Dixon
                                  132 School St                                                                   David Wither, Registered Merchant Banker
                                  Manchester, CT 06840                                                            Ohio
                                  172‐42 Brocher Rd
                                  Jamaica, NY 11434                                                               Tom White
                                                                                                                  443 Tompkins Ave
iPhones                           John Anderson                                                                   Brooklyn, NY 11216
Serial # F2LXHJ7VKPHJ             854 N Tacoma Apt C
IMEI # 357268094590751            Allentown, PA 18109                                                             Mark White
                                  204 Fifth Ave                                                                   204 Fifth Ave
Serial # F2LXHKZ3KPHJ             Toms River, NJ 08757                                                            Toms River, NJ 08757
IMEI # 357268094547884            172‐42 Brocher Rd                                       Jacob Adams (FBI)
                                  Jamaica, NY 11431                                       347‐719‐7368            Nadine Willis
                                  1307 Pacific St, Apt 6D                                                         4298 Oneida Ave, Bronx NY 10470
                                  Brooklyn, nY 11216                                      Tracy Ann McLean
                                                                                          Lloyd Wessom            John Peterson 315‐608‐6060




                                                                                                              2                                   ATTACHMENT B
